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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
TAPESTRY, INC. COACH SERVICES, INC., and                               :
COACH IP HOLDINGS LLC,                                                 :
                                                                       :
                                    Plaintiffs,                        :     20-CV-0271 (JMF)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
CHUNMA USA, INC. and DOES 1-10,                                        :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

       For reasons the Court will explain orally at an initial pretrial conference to be held on
November 10, 2020, at 3:00 p.m. in Courtroom 1105 of the Thurgood Marshall Courthouse, 40
Centre Street, New York, New York, the Court DENIES Plaintiffs’ motion for default judgment
and DENIES Defendants’ motion for transfer of venue.

         By October 22, 2020, Defendants shall file their answer. In accordance with Paragraph
2.B of the Court’s Individual Rules and Practices, the parties are reminded to file on ECF a joint
letter, as well as a proposed Civil Case Management Plan and Scheduling Order attached as an
exhibit to the joint letter, no later than Thursday of the week prior to the initial pretrial
conference, as described in the Court’s Order of January 15, 2020, ECF No. 8.

        The Clerk of Court is directed to terminate ECF Nos. 25 and 28.

        SO ORDERED.

Dated: October 8, 2020                                     __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
